565 F.2d 161
    Boordv.(Name Unknown), Commander in Charge of Base***
    No. 77-2054
    United States Court of Appeals, Fifth Circuit
    12/8/77
    
      1
      S.D.Fla.
    
    AFFIRMED
    
      
        *
         Summary Calendar case; Rule 18, 5 Cir.; see Isbell Enterprises, Inc. v. Citizens Casualty Co. of New York et al., 5 Cir., 1970, 431 F.2d 409
      
      
        **
         Local Rule 21 case; see NLRB v. Amalgamated Clothing Workers of America, 5 Cir., 1970, 430 F.2d 966
      
    
    